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                             UNITED STATES DISTRJCT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CA SE N O .16-24687-CIV -W lLLIAM S

   EDGARDO LEBRON ,

                Plaintiff,


   ROYAL CAM BBEAN CRUISES,LTD .,

                Defendant.




         M embersofthejury:
                         Z         ,

         lt'smy duty toinstnzctyou on thenzles-
                                              oflaw thatyUu mustusein deciding thiscase.

         AfterI'vecom pleted theseinstructions,you willhearcotmsels''closing arplm ents. Once
                                                                   J         .

   cotmselhavecompletedtheirarguments,Iwillinstnlctyoutogotothejuryroom andbeginyour
   discussions-whatwecallyotlrdeliberations.
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          Yourdecision m ustbebasedonly on theevidencepiesented here.You m ustnotbe

    intluencedinanywaybyeithersympathyfororprejudiceagainstanyone.
          You m ustfollow thelaw asIexplain it-even ifyou donotagreewith thelaw -andyou
                                                             '
                                               .                                        .



    mustfollow allofmy instructionsasawhole.You mustnotsingle outordisregard anyofthe

    lnstructionsonthelaw.
          Thefactthata corporation isinvolved asaparty mustnotaffectyourdecision in any way.

    A corporation and al1otherpersonsstand equalbeforethe1aw and mustbedealtwith asequals

    inacourtofjustice.W henacorporation isinvolved,ofcotlrse,itmayactonlythroughpeopleas
    itsemployees;and,in general,a cop oration isresponsibleunderthe1aw forthe actsand

    statem entsofitsemployeesthatarem adewithin thescope oftheirdutiesasem ployeesofthe

   Com pany.




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           A s1said before,you mustconsideronly theevidencethatIhaveadm ittedinthe case.

   Evidenceincludesthetestim ony ofwitnessesand theexhibitsadm ittrd. But,anythingthe

    1awyerssay isnotevidenceand isn'tbindingon you.

           Youshouldn'
                     tassumefrom anythingl'vesaid$at1haveanyopinionaboutanyfactual
    issue in thiscase.Exceptform yinstructionsto you on thelaw,you should disregard arlythingI

   m ay have said dlzring thetrialin arri'
                                         ving atyourown decision aboutthe facts.

           Your.
               om lrecollection and interpretation oftheevidence iswhatmatters.

           In considering the evidence you m ay use reasoning and com m on sense to m ake

    deductionsand reach conclusions. You shouldn'tbeconcerned aboutwhethertheevidenceis

    directorcircumstantial.

           ççoirectevidence''isthetestim ony ofaperso
                                                    -n who assertsthathe orshe hasactual

   know ledge ofa fact,such asan eyewitness.

           ttcircum stantialevidence''isproofofachain offactsand circumstancesthattendto

   proveordisprovea fact. There'sno legaldifference in theweightyou may giveto eitherdirect

    or circum stantialevidence.




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          W hen Isayyou m ustconsidera1ltheevidence,1don'tm eanthatyou m ustaccepta11the

   evidenceastrue oraccurate.You should decidewhetheryou believewhateach witnesshad to

    say,andhow importantthattestimony was.In m aking thatdecision you may believeor

   disbelieveany witness,in wholeor'in part. Thentlmberofwitnessestestifying concem ing a

   particularpointdoesn'tnecessarily m atter.

          To decidewhetheryou believe any witnessIsuggestthatyou ask youiselfafew

   questions'
            .
                1                                             .

          @D id the w itnessim pressyou asone w ho w astelling the tnlth?

          *Didthewitnessàaveanyparticularreason nottotellthetfuth?
          @Didthewitnesshaveapersonalinterestin theoutcom eofthecase?

          *Didthéwitnessseem to have agood inem ory?

          @D id the w itnesshave the opportunity and ability to accurately observe the thingshe or

   shetestified about?

          *Did thewitnessappearto understandthequestionsclearly and answerthem directly?

          .Didthewitness'stestimony differfrom othertestim ony ototherevidence? .




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          You should also ask yotlrselfwhethertherewasevidencethatawitnesstestised falsely

    aboutan im portantfact.And ask whethertherewasevidencethatatsom eothertime awitness

    saidordid som ething,ordidn'tsay ordo something,thatwasdifferentfrom thetestim ony the

    witnessgavedudng thistrial.

          Butkeep in m ind thata simplem istakedoesn'tmean awitnesswasn'ttelling thetruth as

    heorsherem em'bersit. Peoplenatlzrally tendto forgetsom ethingsorrem em berthem

    inaccurately. So,ifa witnessm isstated som ething,you m ustdecidewhetheritwasbecauseofan

    innocentlapsein m em ory oran intentional'deception.Thesignificanceofyolzrdecision m ay

    depend onwhetherthèm isstatem entisaboutan importantfactoraboutan unim portantdetail.




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           W hen scientific,technicalorotherspecialized knowledgem ightbehelpful,aperson who

   hasspecialtrainingorexperiencein thatseldisallowedto statean opinion aboutthematter.

           In thiscase you have heard from the follow ing expertwitnesses:
              .




           (1)    TerryM acLaughlin,whoseareaofexpertiseismaintenanceandoperation of
    ice-skating arenas;

           (2)    YingLu,Ph.D.,whoseareaofexpertiseisbiomechnnicalengineering;
           (3)    DavidW escott whoseareaofexpertiseismaintenanceandoperation of
    ice-skating arenas;and

           (4)    JosephSala,PIA.D.,whojeareaofexpertiseishumanfactors.
           Butthatdoesn'tm ean you mustacceptthe witness'sopinion. Aswith any otherwitness's

   testim ony,you m ustdecide foryolzrselfwhetherto rely upon the opinion.




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           In thiscaseitistheresponjibility ofPlaintiffto proveevery essentialpartofhisclaim by

    açGgreaterweightoftheevidence.''Thisissometimescalled the tiburden ofproof'orthe

    Gtbttrden ofpersuasion.''

           A %sgreaterweightoftheevidehce''simply m eansan nm otmtofevidencethatisenough to
                            /

    persuadeyou thatPlaintiffsclaim ism ore likelytruethan nottrue.

           Iftheprooffailstoestablijh any essentialpartofa claim orcontention by agreater

    w eightofthe evidence,you should find againstPlaihtiff.

           In deciding whetheranyfacthasbeenproved by agreaterweightofthe evidence,you

    may considerthetestimony ofa11ofthewithesses,regardlessofwho m ay havecalled them,and

    alloftheexhibitsreceivedin evidence,'
                                        regardlessofwho m ay haveproducedthem .

           Ifthe prooffailsto establish any essentialpm'tofPlaintiff'sclaim by a greaterw eightof

   theevidence,you should find forDefendantagto thatclaim .




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           PlaintiffcontendsthatDefendantwasnegligentby fpiling tom aintain the icerink in a

    reasonably safe condition,specifically thatthe ice arena had gouges on the ice,and by providing

    him w ith skatesthathad broken laces.Defendantcontendsthattherewasnothing wrongwith

    the icerink orPlaintiff sskatesandtherewasno negligenceon thepartofDefendantwhich

    causedPlaintiffsfall.

           Thus,Plaintiffm ustprovethatDefendantimproperly maintained theiceandprovided

    skatesto him with lacesthatwerebroken,andthatDefendantknew orshouldhaveknown ofthis

    dangerouscondition,and that.
                               thisdangerouscohdition caused Plaintiffto falland caused his

    injuries.IfyoufindthatPlaintiffprovedtllisbyathegreaterweightoftheevidence,then
    Defendantmustprovethatthecondition which Plaintiffalleged caused hisincidentWasor

    should have been open and obviousto Plaintiffthrough the ordinary useofhissenses.

           In defense,DefendantclaimsthatPlaintiffcausedorcontributedtohisowninjtlries
    becausehewasnegligentby failing tousereasonablecareundebthecircum stancesby knowingly

    skatingwith skatesthathadbroken lacesand féiling totèllanyonethatthelaceswerebroken.

    D efendantcontendsthatPlaintiffsim ply losthisbalance causing his fall. D efendantm ustprove

    itsdefense by the greaterw eightof.
                                      the evidence.




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          In orderto prevailon llisclaim thatDefendantwasnegligent,Plaintiffmustproveallof

   the follow ing facts by the greaterw eightofthe evidence:

          First: ThatDefendanthad alegaldutyto usereasonablecareby properlym aintaining

   theiceapdproviding skatesw ith unbroken laces;and
          Second: ThatDefendantbreached thatdutyby failingto correctorwarn Plaintiffofa

    dangerousconditionofwhichDefendantltnew orshouldhavelchownexisteb;and
          Third: ThatsuchnegligencewasaGElegalcause''ofPlaintiff'sclaimedinjuryénd
    dnmages.

          Ifthegreaterweightoftheevidence sup'portsdoesnotsupportPlaintiffsclaim ,then your

   verdictshould beforDefendant.

          IfthegreaterweightoftheevidencesupportsPlaintiffsclaim,you mustnextconsider

   thedefenseraisedby Defendant. DefendantcontendsthatPlaintiffwasalso negligentandthat

    suchnegligencewasalegalcauseofPlaintiffsinjlzries.Thisisadefensiveclaim andDefendant
   hastheburden ofproving thedefensebythegreaterweightoftheevidence.Thus,Defendant

   m ustejtablish:

          First: ThatPlaintiffhad alegalduty to usereasonable carewhen tying hisskatesand to

    seek help ifhecould notproperly lacehisskates;and

          Secönd: ThatPlaintiffbreached thatduty by skating w ith skates thathe knew w ere

   dangerousbecausethey werenotlacedproperly and by nottelling anyonethathe could not

   properly lace hisskates;and

          Third: ThatsuchnegligencewasaGû
                                        legalcause''ofPlaintiffsclaimedinjuryand
   dam ages.


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           Finding in favorofDefendanton thisdefensewillnotpreventrecoveryby Plaintiff,it

    willonlyreducsthenm otàtofhisrecovery.In otherwords,ifyou findthatthe accidentwasdue

    paitly tothefaultofPlaintiff-thatPlaintiffwas,forexample,50% responsibleforhisown

    dam age-then you would fillinthatpercentageasyottrsndingon theverdiçtform thatIwill

    explainin amoment.Such afindingwoulbnotpreventPlaintifffrom recovering;theCourtwill
    merely reducehistotaldam agesbythepercentagethatyou insert.Ofcourse,by usingthe

    ntlmber50% asan example,Ido notm ean to suggestto you any specifcfigure atall.Ifyou find

    thatPlaintiffwasnegligent,you mightfind 1% or99% .
                                                                                  ,'
           ln theverdictfoi'm that1willexplain in am om ent,you willbe asked to ansWera seriesof

    questionsconcerning each ofthese factualissues.




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           Iwillnow definesomeofthetermsIhavejustused.
           çtN egligence''isthefailtlreto usereasonablecaretmderthecircllm stances.Reasonable

    careisthatdegreeofcarethatareasonably carefulperson would useunderlike cirolm stances.

    Negligencemay consisteitherin doing som ething,orin failing to do som ething,thata

    reasonably carefulperson would notdotmderlikecirclxmstances.

           Negligencerequiresbothareasonablyforeseeabledangerofinjtu.
                                                                    ytoanotherandconduct
    thatisunreasonablein proportion to thatdanger.A party isonly responsiblein negligenceforthe

    resultsoftheirconductiftheriskofinjuryisreasonablyforeseeable.Theexactoccurrenceorexact
    injurydoesnothavetobeforeseeable;buttheinjurycausëdbythenegligentconductmustbenot
    m erely possible,butratherreasonably foreseeable.

           Thereisnejligenceifareasonablyprqdentpersoncouldforeseeinjuryasaresultofhis
    conduct,and acted tmreasonably ornegligently in thelightofwhatcould be foreseen.On the

    otherhand,there isno negligenceifareasonably prudentperson could nothaveforeseen any

    injuryasaresultofhisconduct,orifthepartyactedreasonablyinthelighto
                                                                     'fwhatcouldhave
    been foreseen.
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           J.
            n thiscase,both partieshaverespectivedutiesofcare.Defendantand itsem ployees

    haveadutytousereasonablecareunderthecircumstances.Torecoverforinjlzriessustainedin
     ,sf
    hi  all,Plaintiffm ustshow thatDefendanthad actualorconstnzctivenoticethatthedangerous

    condition existed. In thiscase,thealleged dangerouscondition isthattheicehad gougesin it

    and the laces on Plaintiff s skatesw ere broken.

           çW cttzalnotice''may be shown iftheDefendantknew thatadangerouscondition existed.

    Thatknowledge can com ef'
                            rom Defendant'semployeesorathirdparty.

           dsconstnlctivenotice''maybeshownif(a)thedangerousconditionexistedforsucha
    length oftim e that,in the exercise ofreasonable care,D efendantshould have know n ofthç

    dangerouscondition or(b)thedangerouscondition occurredwithregularityandwastherefore
    foreseeable.

           Similarly,the1aw requiresPlaintiffto exercisereasonablecareunderthecircum stances
                                                                        t
    forhisown safety becauseaship-ownerisnotan inslzrerofitspassenge.rs,kafety. Thatis,a

    ship-ownerdoesnotbecome liableto apassengermerely because an accidentoccurs.The

    ship-owner'sdutyto correctdangersorwnrn itspassengersofdangersextendsonly to those

    dangersthatare notapparentorobvioustothepassenger.Defendantdoesnothave aduty to

    w arn Plaintiffofopen and obviousdangers. An open and obviousdangerisonethatis

    perceivable to a person through the ordinary use ofhis senses.




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           NegligenceisaCûlegalcause''ofdnmagesifitdirectly and in nattlraland continuèus

    sequenceproduces,orcontributessubstantially toproducingsuch damage,soitcan reasonably

    besaidthat,exceptforthenegligence,theloss,injuryordamagewoùldnothaveoccurred.
    Negligencemay bethelegalcauseofdamageev
                                          'en though itoperatesin combination with theact

    of another,som e naturalcause,orsom e other cause ifsuch othercause occtlrs atthe snm e tim e

    asthenegligence,thenegligenceisforeseeable and ifthenegligence contributessubstantiallyto

    producing such dam age.




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              lfyou find forDefendant,ypu willnotconsiderthe matterofdamages.Butifyou tsnd for

       Plaintiff,you should award him an nmountofm oneythatthe greaterweightoftheevidence

       showswillfairlyandadequately compensatehim forsuchinjuryasthegreaterweightofthe
       evidence showswascaused bythebehavior.

              In considering the issue ofPlaintiY sdnm ages,you are instructed thatyou should assess

       thenmountyoufindtobejustifiedbythegreaterweightoftheevidenceas111,justand
       reasonable.com pensation foral1ofhisdnm ages,nom oreand noless.Cpm pensatory dnmagesare

       notallowed asapunishm entand mustnotbeimposed orincreased to penalizeDefendant.Also,

       com pensatory dam ages m ustnotbe based on speculation or guessw ork because itis only actual

       dnm agesthatarerecoverable.ln determiningtheam ountofdam agestobeaWàrded to Plaintiff,if

       any,you cnnnotbegbvelmedbysympathyorprejudice,oranymotivewhatsoeverexceptafair
       andimpartialconsiderationofthatevidence,andyoumustnotallow anysympathyorprejudice
       thatyou have asto any ofthe partiesto intluenceyou in any degree w hatsoeverin arriving at

       yourverdict

              On theotherhand,compensatory dnm agesarenotrestricted to actuallossoftime or

       money;theycoverboththementalandphysicalaspectsofinjury-tangibleandintangible.Thus,
       no evidence ofthe value ofsuch intangiblethings aspain and'suffering hasbeen orneed be
   '


       introduced.ln thatrespect,itisnotvalue you aretrying to detennine,butgn am ountthatw ill
                                                                                                '
                                                                         )

       fairly compensatePlaintiffforthose claimsofdnmage.Thereisno exactstandard tobe applied;
                                                                                   '
                                           .



       any such awardshouldbefairandjustinthelightoftheevidence.




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    You shouldconsiderthe following elem entsofdnm age,to theextentyou find them proved by a

    preponderanceoftheevidence,andno others:

                 Pastmedicaland hospitalexpenses,and

          (b)    Mentalorphysicalpainandanguish,pastandfuttzre




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              The Courthasalso adm itted into evidence JointExhibit17 titled tslce Skating RiIIIC-

    ExpressAssumption ofRisk -W aiverand ReleaseofLiability.'' Thisdocum entisadm itted

    solely forthelimited pum oseofshowing Plaintiffsacknowledgm entsofthepotentialdangers

    associated with ice skating.TheExhibitcnnnotbeconsidered forany otherpurpose.Underthe

    law,an ownerofavesselcnnno'tlimititsliabilityforpersonalinjurycausedbythenegligenceof
    itsem ployeesoragents. Therefore,JointExhibit17 doesnotwaiveorreleaseany ofPlaintiffs

    rights.




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           Ofcotlrse,thefactthat1havegiven you instructionsconcerningthe issue ofPlaintiffs

    dnm agesshould notbeinterpreted in any way asan indication thatIbelievethatthePlaintiff

    should,orshould not,prevailin thiscase.

           Y otlrverdictm ustbe tm anim ous -in otherw ords,you m ustal1agree. Y ourdeliberations

    are secret,and you'llneverhave to explain yourverdictto anyone.

           Each ofyou mustdecidethecase foryottrself,butonly afterfully considering the

    evidencewiththeotherjtlrors.Soyoumustdiscussthecasewithoneanotherandtrytoreachan
    agreement..
              W 1&i1eyou'rediscussing thecase,don'thesitatetoreexamineyourown opinion and

    change yotlrm ind ifyou becom e convinced thatyou w ere w rong. Butdon'tgive up yolzrhonest

    beliefsjujtbecauseothersthinkdifferentlyorbecauseyousimplywanttogetthecaseoverwith.
           Rememberthat,inaverywalway,you'rejudgesofthefacts.Youronlyinterestisto
    seek the tnlth from the evidence in the case.
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           You'vebeen permittedto takenotesduring thetrial.M ostofyou -perhapsal1ofyou -

    havetaken advantageofthatoppoltlnity.

           You mustuseyournotesonly asam emory aid during deliberations.You mustnotgivç

    yotlrnotespriority overyolzrindependentrecollection ofthe evidence.A nd you m ustnotallow
                                  I

    yourselftobeundulyinfiuencedbythenotesofotherjtzrors.
           Iemphasizethatnotesarenotentitledtoanygreaterweighttilanyourmemoriesor
    impressionsaboutthe testimony.




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           W henyougettothejuryroom,chooseoneofyourmemberstoactasforeperson.The
    foreperson willdirectyotlrdeliberationsand speak foryou in cotu't.

           A verdictform hasbeenprepared foryourconvenience.

                                           gExplainverdictq
           Theverdictform willbein thisgreen folderthatwillbeplaced in thecenterofyotlrtable

    inthejm.
           yroom.W henyou'
                         vea1lagreedontheverdict,yourforepersonmustfillintheform,
    sign itand dateit.Then you'llreturn itto thecourtroom .

           lfyou w ish to com m unicate with m e atany tim e,please w rite dow n yourm essage or

    question and give itto the courtsecurity officer. The courtsecurity offcer willbring itto m e and

    1'11respond aspromptly aspossible- eitherin writing orby talking toyou inthe courtrooin.

    PleaseunderstandthatImay havetotalkto thelawyersand thepartiesbefore1respond toyour

    question orm essage,so you should be patientas you aw aitm y response.ButIcaution you notto

    tellmehow manyjurorshavevotedonewayortheotheratthattime.
           Thattypeofinfonnation shouldremaininthejuryroom andnotbesharedwithanyone,
    inèluding me,in yournoteorquestion.




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